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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
JAVIER TAPIA, CASE NO. C22-1141-KKE
Plaintiff(s), VERDICT FORM
Vv.
NAPHCARE INC., et al.,
Defendant(s).

QUESTION 1: Did Javier Tapia prove by a preponderance of the evidence that the acts of one or

more NaphCare employees deprived Javier Tapia of his right to adequate medical care under the

SECTION 1983 CLAIM AGAINST NAPHCARE, INC,

Fourteenth Amendment?

Answer yes") “no”)

ifyou answered “no” to Question 1, skip to the last page, sign and date this Verdict Form. Ifyou

answered “yes” to Question I, proceed to the next question.

QUESTION 2: Did Javier Tapia prove by a preponderance of the evidence that one or more

NaphCare employees acted pursuant to a widespread or longstanding custom of NaphCare?

Answer: Sehr “no”

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Ifyou answered “no” to Question 2, skip to the last page, sign and date this Verdict Form. If you

answered “yes” to Question 2, proceed to the next question.

QUESTION 3: Did Javier Tapia prove by a preponderance of the evidence that NaphCare’s
widespread or longstanding custom caused the deprivation of Javier Tapia’s rights by its
employee? In other words, NaphCare’s widespread or longstanding practice or custom is so
closely related to the deprivation of Javier Tapia’s rights as to be the moving force that caused his
injury.

Answer: or “no”

Ifyou answered “no” to Question 3, skip to the last page, sign and date this Verdict Form. Ifyou

answered “yes” to Question 3, proceed to the next question.

DAMAGES
QUESTION 4: If you answered “yes” to Questions 1, 2, and 3, what is the amount of
compensatory damages owed to Javier Tapia by NaphCare? If you answered “no” to Questions 1,
2, or 3, please skip to the last page, sign, and date this Verdict Form.

Compensatory Damages: $ § yw; \t ion
If you found NaphCare Hable under § 1983 by answering “yes” to Questions 1, 2, and 3, you

must also decide if NaphCare should be required to pay punitive damages by answering

Questions 5 and 6 below:

VERDICT FORM - 2

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QUESTION 5: Do you find by a preponderance of the evidence that NaphCare’s conduct was in
reckless disregard of Tapia’s rights (i.e., the conduct reflected a complete indifference to the

person’s safety or rights)?

Answer(Cyesat “no”

QUESTION 6: [f you answered “no” to Question 5, skip this section and leave it blank. If you
answered “yes” to Question 5, how much money do you award in punitive damages against
NaphCare?

Answer: $ QC? million

Once you have completed this verdict form, the Presiding Juror should sign below and notify the

Courtroom Deputy. Thank you,

Dated this }} day of Apri |

Presiding Juror
Signed on behalf of the Jur

Dated this Y day of Apil

Kymberly K. Evanson
United States District Judge

VERDICT FORM - 3

